          Case 14-50333-gs         Doc 90     Entered 06/24/14 11:11:20         Page 1 of 1



   1

   2

   3

   4
   Entered on Docket
___________________________________________________________________
   5June 24, 2014

   6
                                    UNITED STATES BANKRUPTCY COURT
   7                                       DISTRICT OF NEVADA
   8

   9
       In re:                                                         BK-N-14-50333-BTB
  10
     ANTHONY THOMAS and                                               Chapter 11
  11 WENDI THOMAS,

  12
                 Debtors.
  13 _______________________________________/
  14
                                                 MINUTE ORDER
  15

  16            IT IS HEREBY ORDERED that the Ex Parte Request for Court to Issue Order to the

  17 American Arbitration Association to Appear and Show Cause for its Failure to Comply with an

  18
       Order of this Court (Dkt. #78) is DENIED.
  19
                The Court finds that the Order Approving Stipulation for Comfort Order entered on April
  20
       11, 2014 (Dkt. #45) did not require the American Arbitration Association to take any action or to
  21

  22 hear any matter. The Order simply stated that the automatic stay of 11 U.S.C. § 362(a) and the 14

  23 day stay of Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure do not apply to the

  24 California State Action filed by Debtor, and that the state court action may proceed.

  25
  26

  27

  28
